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                      EXHIBIT 8
     Case
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                                            #:4909


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11
12                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
13
14    LENORE ALBERT, et al,                      CASE NO. 8:24-cv-01997-WLH (DFMx)
15                            Plaintiff,         PLAINTIFF LENORE ALBERT’S
16    vs.                                        REQUEST FOR JUDICIAL NOTICE IN
17
                                                 OPPOSITION TO TYLER
      TYLER TECHNOLOGIES, INC., et al,           TECHNOLOGIES' MOTION TO
18                     Defendants.               DISMISS
19
                                                 Complaint filed: 09-16-2024
20                                               First Amended Complaint filed: 11-04-2024
21
                                                 Hearing Date: December 20, 2024
22
                                                 Time: 1:30PM
23                                               Ctrm: 9B – 9th Flr
24
25    Ryan McMahon
26    Email: Codethree53@gmail.com
      7533 English Hills Road
27
      Vacaville, CA 95687
28
                                                i
        PLAINTIFF LENORE ALBERT’S REQUEST FOR JUDICIAL NOTICE IN
           OPPOSITION TO TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
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17
      Plaintiff, pro se

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        PLAINTIFF LENORE ALBERT’S REQUEST FOR JUDICIAL NOTICE IN
           OPPOSITION TO TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
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1           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
2     RECORD:
3           COMES NOW PLAINTIFF Lenore Albert and requests the Court take judicial
4     notice of the following facts pursuant to Evidence Code 201.
5                                     ADJUDICATIVE FACTS
6     1. On January 12, 2024, the state court overruled the defendants’ demurrers and found
7        two viable causes of action based on mandatory duty and negligence against the
8        State Bar of California and Tyler Technologies, Inc. in the data breach case
9        captioned Roe 1 v State Bar of California, Case No. 30-2022-01250695-CU-AT-
10       CXC Attached hereto and fully incorporated herein as Exhibit 1 is a true and correct
11       copy of the state court’s Minute Order dated January 12, 2024.
12    2. On March 20, 2024, the state court struck the motion to certify the class in the data
13       breach case captioned Roe 1 v State Bar of California, Case No. 30-2022-01250695-
14       CU-AT-CXC. Attached hereto and fully incorporated herein as Exhibit 2 is a true
15       and correct copy of the state court’s Minute Order dated March 20, 2024.
16    3. On July 17, 2024, the California supreme court disbarred the plaintiff.
17    4. The U.S. Supreme Court did not issue a reciprocal disbarment of Lenore Albert.
18       Attached hereto and fully incorporated herein as Exhibit 3 is a true and correct copy
19       of the U.S. Supreme Court Certificate in Good Standing dated November 19, 2024.
20
21                                           RELEVANCE
22          Adjudicative facts in requests 1 and 2 show that the statute of limitations for
23    plaintiff Lenore Albert has not yet tolled because the Court only struck the motion for
24    class certification. Still, it has not ruled on one yet or dismissed the class allegations.
25    Thus, the plaintiff’s negligence claim against Tyler Technologies’ is timely.
26          It also shows that the court overruled the demurrer to the defendant’s negligence
27    cause of action on January 12, 2024.
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        PLAINTIFF LENORE ALBERT’S REQUEST FOR JUDICIAL NOTICE IN
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       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
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1           Exhibit 3 is a counter to the defendant’s exhibit showing Albert has respondent to
2     an Order to Show Cause in the Central District. The U.S. Supreme Court considered
3     and did not find the State Bar’s finding warranted reciprocal discipline.
4           Albert’s membership in the U.S. Supreme Court is in good standing.
5           Wherefore, Lenore Albert requests this Court take judicial notice of these
6     adjudicative facts in denying defendant Tyler Technologies’ motion to dismiss.
7     Dated: November 27, 2024         Respectfully Submitted,
8                                     /s/ Lenore L. Albert_______
9                                     Lenore L. Albert, plaintiff, pro se
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        PLAINTIFF LENORE ALBERT’S REQUEST FOR JUDICIAL NOTICE IN
           OPPOSITION TO TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
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1                                       PROOF OF SERVICE
2     STATE OF CALIFORNIA, COUNTY OF ORANGE:
3      I declare that I am over the age of 18 years, and a party to the within action using ECF
      to file and serve; that I am employed in Orange County, California; my business
4
      address is 1968 S Coast Hwy #3960, Laguna Beach, CA 92651. On November 27,
5     2024, I served a copy of the following document(s) described as:
6
      PLAINTIFF LENORE ALBERT’S REQUEST FOR JUDICIAL NOTICE IN
      OPPOSITION TO TYLER TECHNOLOGIES’ MOTION TO DISMISS
7     On the interested parties in this action as follows:
8     See Electronic Service list
9     [x] BY E-SERVE and EMAIL – I caused such document(s) to be transmitted to the
10    office(s) of the addressee(s) listed above by electronic mail at the e-mail address(es)
      set forth. (Per Covid-19 Order)
11
      [] BY MAIL– I caused such document(s) to be placed in pre-addressed envelope(s)
12    with postage thereon fully prepaid and sealed, to be deposited as regular US Mail at
13    Huntington Beach, California, to the aforementioned addressee(s).
       I declare under penalty of perjury under the laws of the State of California and the
14    United States of America that the foregoing is true and correct.
15
      Dated: November 27, 2024
16
                                                   _/s/Lenore Albert_____________________
17                                                            Lenore Albert
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        PLAINTIFF LENORE ALBERT’S REQUEST FOR JUDICIAL NOTICE IN
           OPPOSITION TO TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
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                                          ID#:3002
                                             #:4914


1
2                               ELECTRONIC SERVICE LIST
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8     Pleasanton, California 94588 (510) 350-3582 Direct
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      THE STATE BAR OF CALIFORNIA
11
      180 Howard Street
12    San Francisco, CA 94105-1639 Telephone: 415-538-2388; Facsimile: 415-538-2517
13
      For Defendant Rick Rankin
14    JEFFER MANGELS BUTLER & MITCHELL LLP
15    MICHAEL A. GOLD (Bar No. 90667)
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16
      JUSTIN ANDERSON (Bar No. 328969)
17    Janderson@jmbm.com
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      Los Angeles, California 90067-4308 Telephone: (310) 203-8080
19
20    For Defendant Tyler Technologies, Inc.
      Beth Petronia beth.petronio@klgates.com
21
      Zachary T. Timm (SBN 316564) zach.timm@klgates.com
22    K&L GATES LLP
23
      10100 Santa Monica Boulevard Seventh Floor
      Los Angeles, California 90067 Telephone: 310.552.5000
24    Co-plaintiffs by email by consent – as listed on the caption.
25    George Cardona to be served; serviceofprocess@calbar.ca.gov
26     and Chief Justice Patricia Guerrero to be served with summons and complaint.
27
28
                                                  4
        PLAINTIFF LENORE ALBERT’S REQUEST FOR JUDICIAL NOTICE IN
           OPPOSITION TO TYLER TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
